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      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                   No. 22-1141

          JOHN DOE 1, in their own capacity and as parent of Child Doe 1;
          JANE DOE 1, in their own capacity and as parent of Child Doe 1;
          JOHN DOE 2, in their own capacity and as parent of Child Doe 2;
          JANE DOE 2, in their own capacity and as parent of Child Doe 2;
          JOHN DOE 3, in their own capacity and as parent of Child Doe 3;
          JANE DOE 3, in their own capacity and as parent of Child Doe 3;
          JOHN DOE 4, in their own capacity and as parent of Child Doe 4;
          JANE DOE 4, in their own capacity and as parent of Child Doe 4;
          JOHN DOE 5, in their own capacity and as parent of Child Doe 5;
          JANE DOE 5, in their own capacity and as parent of Child Doe 5
                   and on behalf of those similarly situated,
                                                             Appellants

                                        v.

  UPPER SAINT CLAIR SCHOOL DISTRICT, a Pennsylvania governmental entity;
PHILLIP J. ELIAS; DAPHNA GANS; BARBARA L. BOLAS; PATRICK A. HEWITT;
  LOUIS P. MAFRICE, JR.; MICHAEL R. MASCARO; ANGELA B. PETERSEN;
 JENNIFER A. SCHNORE; DANIELLE Z. WETZEL, all individual elected officials
          sued in their official capacity as members of the Upper Saint Clair
                           School District Board of Directors;
      UPPER SAINT CLAIR SCHOOL DISTRICT BOARD OF DIRECTORS

                           (W.D. Pa. No. 2-22-cv-00112)

                             Nos. 22-1160 & 22-8006

   JOHN DOE 1; JANE DOE 1, in their own capacity and as parent of Child Doe 1;
   JANE DOE 2, in her own capacity and as parent of Child Doe 2 and Child Doe 3;
         JANE DOE 3, in her own capacity and as parent of Child Doe 4
                     and on behalf of those similarly situated,

                                        v.

  NORTH ALLEGHENY SCHOOL DISTRICT, a Pennsylvania governmental entity;
     RICHARD MCCLURE; ELIZABETH BLACKBURN; MARCIE CROW;
    LESLIE BRITTON DOZIER; PAIGE HARDY; KEVIN MAHLER; VIDYA
SZYMKOWIAK; ELIZABETH WERNER; SHANNON YEAKEL, all individual elected
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    officials sued in their official capacity as members of the North Allegheny School
            District Board of Directors, a Pennsylvania elected legislative body;
        NORTH ALLEGHENY SCHOOL DISTRICT BOARD OF DIRECTORS,
                           a Pennsylvania elected legislative body,
                                                                    Appellants

                              (W.D. Pa. No. 2-22-cv-00055)


                                          ORDER

       This order is entered at the direction of the Court.

       The petition for permission to appeal filed by the North Allegheny School District
defendants is GRANTED as to the questions certified for interlocutory appeal by the
District Court and DENIED as to Questions “C” and “D” proposed in the petition for
permission to appeal. Defendants are directed to pay the appellate filing fee to the district
court immediately upon receipt of this order so the Clerk’s Office may docket the new
appeal.

      Once the new appeal is opened, it shall be consolidated with the appeal at No. 22-
1160 for all purposes. Those two appeals will be further consolidated with the appeal at
No. 22-1141 for purposes of scheduling and disposition before the same merits panel.

      It is further ordered that the consolidated appeals will proceed on the following
expedited briefing schedule:

       - Appellants’ briefs and the joint appendices must be filed on or before February
       18, 2022.
       - Appellees’ briefs must be filed on or before March 4, 2022.
       - Appellants’ reply briefs, if any, must be filed on or before March 11, 2022.

The appeals will be scheduled for oral argument On March 24, 2022 at 10:00. The
argument will take place remotely over Zoom.

       The injunction granted in appeal No. 22-1141 on January 23, 2022 shall remain in
effect pending further order of this Court.

       The motion to quash the appeal filed by Appellees in No. 22-1141 is referred to
the merits panel. The motion to exclude consideration of the Amici brief filed in No. 22-
1141 is dismissed as moot.
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For the Court,



Patricia S. Dodszuweit. Clerk

                                            A True Copy :
Dated: February 4, 2022
CJG/cc:      All Counsel of Record
                                                 Patricia S. Dodszuweit, Clerk
